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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA

Case No. 1:21-CR-00245

)
)
Vv. )
) Judge Anthony Trenga
)
)
)

IGOR DANCHENKO Trial Date: October 11, 2022
Defendant.
DEFENDANT’S EXHIBIT LIST
Eatibit Description Bates Number Off'd Adm/’d Notes
Dx1 5/24/2016 New York
. | Magazine Article
5/25/2016 Vanity Fair
Dx2 | article
Dx 3 5/25/2016 Politico Article
Dx 4 5/25/2016 Politico Article
5/26/2016 USA Today
Dx5 Article
6/20/2016 Daily Beast
Dx 6 Article
Dx7 6/20/2016 New York Times
Article
Dx8 7/17/2016 New York
Magazine Article
7/19/2016 Vanity Fair
Dx9 Article
8/14/2016 New York Times
Dx 10 Article
Dx ll 8/14/2016 Tweet from
Corey Lewandowski
8/14/2016 Tweet from B-Puten, 12
Dx12_| Roland Scahill vw vo ot

jez.

Dx 13 | 8/14/2016 The Hill Article

Dx 14 8/14/2016 Tweet

Dx 15 8/41/2016 Tweet

Dx 16 8/15/2016 Tweet

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8/15/2016 Tweet

Dx 18 | 8/15/2016 Politico Article
Dx 19 | 8/15/2016 Tweet
8/17/2016 New York Times
Dx 20 Article
Dx 21 | 8/17/2016 LA Times Article
8/19/2016 New York Times
Dx 22 Article
Dx 23 | 8/19/2016 Tweet
Dx 24 | 8/19/2016 Politico Article
8/19/2016 Rolling Stone
Dx 25 Article
8/19/2016 Daily Beast B- Auten, toli2z}22-
Dx26 | Article vo |v
Dx 27 | 8/21/2016 The Street Article
Dx 100 | ID Case Opening SCO 105224 Y So K Hefson, (0/377
CHS Reporting Document
Dx 101 | for 5/18/2017 Interview | SCO-105282
Debrief Notes of 6/15/2017 | SCO_105333 to K- Helen, oltg{ez,
Dx 102 | Taterview SCO_105334 vo “ fe Aromeeso’ Gut [22
CHS Reporting Document . A. Adpersed ioht4|22.
Dx 103 | 66/15/2017 Interview SCO_105284 Vv v
CHS Reporting Document
Dx 104 | 10/23/2017 Interview | S©O_10528°
CHS Reporting Document
Dx 105 | o£ 11/2/2017 Interview SCO_105287
CHS Reporting Document
Dx 106 | of 10/24/2017 Interview _| SCO-105286
: - Hel 4
Dx 107 | Field Office Annual Source | gay 195704 Y / K. Helgon , tofralez
Report -
Field Office Annual Source K. Belgon  toli3/4z.
Dx 108 Report SCO_ 105335 Y /
. (
Dx 109 | CHS Payment Request SCO_105247 Y\o k-Helson, toll3tzz.
‘Helson, tofta 27
Dx 110 | CHS Payment Request SCO_ 105249 vy |v K-Helson, 10lt3|
Electronic Communication
Dx 111 | re: Raise Payment SCO_105257

Threshold to $200,000

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Electronic Communication

K telson, tolralzz

Dx 112 | re: Raise Payment SCO_ 105260
Threshold to $300,000
Dx 113 Helson Memo re: 7/16/2020 SCO 105451
Phone Call -
Dx 114 Helson Email re: Release of | SCO_ 105329 to
ID Interview, etc. $CO_105330
4. . SCO_105288 to
Dx 115 | FBI Email re: Protecting ID SCO 105289
Dx 116 Helson Email re: Durham SCO_105305 to
Request for Interview of ID | SCO_105306
Helson Electronic K-Helson toli¢]22-
Dx 117 Communication for SCO_105290 to
Expense and Lump Sum SCO_105291
Payment
Dx 118 | Source Closing SCO_105237
Communication —-
Dx 119 Summary Draft Significant | SCO_105163 to
Source Validation Report SCO_105164
Dx 120 Summary Final Significant | SCO_105161 to
Source Validation Report SCO_105162
Dx 121 | CHS Report SCO_105296
Dx 122 Preliminary Background on SCO 105332
Danchenko -
Dx 123 | OIA Authorization SCO_105326
. . SCO_105300 to
Dx 124 | Inspection Report Review SCO 105301
Dx 125 Helson Email re: Durham SCO_3500_065231 to
Investigation SCO_3500_065233
5/18/2017 Interview
Dx 126 Recording Excerpt
5/18/2017 Interview
Dx 126T | Recording Excerpt
Transcript
6/2/2017 Helson Email re:
Dx 127 | Cases Danchenko is SCO_3500_067330
Reporting On
8/22/2017 Helson Email re:
Dx 128 | Anderson Asking for Soon aebO beaas to
Danchenko Insight - —

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8/30/2017 Helson Email re:

Dx 129 | Dolan and Danchenko SCOn300 bens , to
Putting on Conference - -
1/10/2018 Helson Email re:

. * | SCO_3500_067369 to

Dx 130 mes Danchenko 18 SCO 3500 067370

eporting On - -
2/23/2018 Helson Email re:

Dx 131 Danchenko Providing SCO_3500_067379 to
Information on Orbis SCO_3500_067380
Customers
10/2/2018 Helson Email re:

SCO_3500_067381 to

Dx 132 Concems About Danchenko SCO 3500 067383
Being Outed - -
12/4/2018 Helson Email re:

SCO_3500_067341 to

Dx 133 Cases Danchenko Is SCO 3500 067342
Reporting On — -

9/9/2019 Helson Email re:

Dx 134 Request for Danchenko SCO_3500_067412 to
Information on Steele SCO_3500_067421
Deleted Thumb Drive
3/2/2020 Helson Email re:

SCO_3500_067343 to

Dx 135 Concems about Danchenko SCO 3500 067347
Being Outed - -
10/15/2020 Helson Email

. . SCO_3500_067505 to

Dx 136 | re: Danchenko Collecting SCO 3500 067506
Information in London - -

Dx 150 10/31/2018 OIG Testimony | SCO_3500_065234 to
of Helson SCO_3500_065465

Dx 151 OIG Testimony of Helson SCO_3500_065234,
Excerpt SCO_3500_065362

. SCO_105307 to

Dx 152 | Helson Declaration SCO 105323

Dx 153 11/24/2020 Helson SCO_3500_064088 to
Interview with SCO SCO_3500_064108

Dx 154 7/27/2020 Helson Interview | SCO_3500_064072 to
with SCO SCO_3500_064087

Dx 200 4/12/2016 Dolan Email re: | SCO _3500_003744 to

* Danchenko SCO_3500_003746
Dx 201 6/9/2016 Dolan Email re: SCO_3500_002231 to
x Political Souvenirs SCO_3500 002232
9/7/2018 Dolan Email re:
. SCID_00017835 to

Dx 202 Danchenko Possibly SCID 00017837

Writing a Book -

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| — Deseription. nS . : |. :
Dx 203 8/ 1 9/2016 Dolan Email re: SCO. "3500 - 001468 to
Kalugin Resignation SCO_3500_001469
Dx 250 8/31/2021 Dolan Interview | SCO_005619 to
* with SCO SCO_005742
Dx 251 9/7/2021 Dolan Interview SCO_005743 to
x with SCO SCO_005781
Dx 252 11/1/2021 Dolan Interview | SCO_005782 to
with SCO SCO_005800
Dx 300 | 5/24/2017 CHS on Millian | SCO_105246
Dx 301 | 7/11/2017 Lync Call SCO_3500_066373
Dx 302 8/15/2017 Chart from SCO_3500_ 065663 to
Anderson SCO_3500_065667
Dx 303 6/27/2019 OIG Testimony | SCO_3500_064115 to
of Anderson SCO_3500_064219
Dx 304 | 9/14/2022 Trial Prep Notes | SCO_3500_066743
Dx 305 5/1/2020 Anderson SCO_3500_063983 to
Interview with SCO SCO_3500_063988
Dx 306 8/31/2021 Anderson SCO_3500_063989 to
Interview with SCO SCO_3500_063994
SCO_3500_064220 to
Dx 307 | Anderson Lync Messages SCO 3500 064233
Dx 308 5/24/2017 Lync Message SCO_3500_064221 to
Excerpt SCO_3500_064222
Dx 350 8/16/2021 Hertzog SCO_3500_066724 to
Interview with SCO SCO_3500_066732
Dx 351 10/29/2021 Hertzog SCO_3500_064109 to
Interview with SCO SCO_3500_064114
SCO_3500_065636 to
Dx 352 | Hertzog Lync Messages SCO 3500 065657
Dx 353 | 2721/2017 Lyne Message | gq 3500 065645
Excerpt - —
Dx 354 | 10/19/2017 Lyne Message | gag 3500 065646
Excerpt - -
Dx 355 12/21/2017 Lync Message | SCO_3500_065647 to
Excerpt SCO_3500_065648
. SCO_3500_066734 to
Dx 356 | 8/3/2022 Trial Prep Notes SCO 3500 066741
Dx 400 | Probability Chart SCO_3500_065100 vw B. Putten , tof
Dx 401 Confidence in Assessments SCO_3500_065101
and Judgments -

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1/12/2017 Email re: Plan to |
Dx 402 | Convert Danchenko into SCO_105244
CHS
Papadopoulos-Millian B-Artien, tolrzbe2—
Dx 403 Contact Information from SCO_105261 to
August 2016 to August SCO_105276
2017
8/27/2016 Email re:
: . SCO_3500_001181 to
Dx 404 Physical Surveillance of SCO 3500 001182
Millian - —
11/22/2016 FBI
. : SCO_3500_065808 to
Dx 405 Biographical Data on SCO 3500 065809
Millian -
Dx 406 9/15/2016 Tactical TPP on | SCO_3500_065813 to
Millian SCO_3500_065829
Dx 407 | 8/27/2016 Background on | cog 3500 066520
Millian -
11/22/2016 FBI
. . SCO_3500_067130 to
Dx 409 Biographical Data on SCO 3500 067132
Millian - —
4/27/2017 Auten Email re:
, . "| $CO_3500_067248 to
Dx 411 Danchenko s analytical SCO 3500 067249
conclusions - =
Dx 412 | December 2019 OIG Report
Dx 415 | Factrix Excerpt SCO_3500_001105
Pennsylvania USAO “Tips
Dx 416 for Testifying”
DOJ Institute of Justice
“Eyewitness Evidence: A
Dx 417 Trainer’s Manual for Law
Enforcement”
Dx 418 2/3/2017 Danchenko SCO_3500_066853 to
Debriefing Document SCO_3500_066879
5/26/2016 Email 10| m4] 2022.
Dx 420 | Correspondence between SC_IDC_0044205 Gx 201
Zlodorev and Millian
5/26/2016 Email $CO_101591, 7B-Ruten, tote ez
Dx 420T | Translation SCO_ 101593421 Gx 201T
7/21/2016 Email from
Dx 421 Danchenko to Millian SC_IDC_0042660 Gx 204
Dx 4217 | 7/21/2016 Email Gx 204T
Translation

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Dx 422A Records Custodian SCO_101433
SCO_101435 to B- Auden, rolizt
Dx 422B | Amtrak Records SCO 101436
7/26/2016 Email
Dx 423 | Correspondence between SC_IDC_0042663 Gx 206
Zlodorev and Millian
7/26/2016 Email SCO_002121 to
Dx 4237 | Tyanslation SCO_002122 Gx 206T
Dx 424 | TECS Records SCO_101428 Gx 1400 Ae peleee
SCO_101428 to
Dx 425 | TECS Records SCO 101432
7/28/2016 Facebook SCO_002135 to B- Auten, 10 frel27
Dx 426 | Excerpt SCO 002136 Gx 007
8/18/2016 Email from
Dx 427 Danchenko to Millian SC_IDC_0042676 Gx 207
Dx 4277 | 8/18/2016 Email Gx 207T
Translation
Dx 428 9/23/2016 Facebook SCO 017714
Message -
Dx 428T 9/23/2016 Translated
Messages
Dx 430 2010 Danchenko Resume SCO_006757 to
and Cover Letter SCO_006760
SCO_ 105351 to
Dx 440 | Auten Affidavit SCO 105450

10/25/2018 OIG Testimony

SCO_3500_064671 to

Dx 441 | oe vuten SCO_3500 064932
Dx 442 11/13/2018 OIG Testimony | SCO_3500_064933 to
of Auten SCO_3500_064998
Dx 443 4/24/2019 OIG Testimony | SCO_3500_064234 to
of Auten SCO_3500 064559
Dx 444 4/26/2019 OIG Testimony | SCO_3500_064560 to
of Auten SCO_3500_064670
Dx 445 10/29/2020 Auten Interview | SCO_3500_000101 to
with SJC SCO_3500_000305
Dx 446 7/26/2021 Auten Interview | SCO_3500_064003 to
with SCO SCO_3500_064036
Dx 447 10/21/2021 Auten Interview | SCO_3500_001071 to
with SCO SCO_3500_001084
Dx 448 | Subsource List SCO_105292

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Dx 470

Providing Number to
Discuss Sanctions related to
Russia

3/10/2015 Email re: Millian |

SC_IDC_0043950

Dx 470T

3/10/2015 Email
Translation

Dx 471

5/29/2015 Email re: Millian
Willing to Skype with
Zlodorev

SC_IDC_0043977

Dx 471T

§/29/2015 Email
Translation

Dx 472

7/10/2015 Email re: Millian
Provides Moscow Number
to Zlodorev

SC_IDC_0043999

Dx 472T

7/10/2015 Email
Translation

Dx 474

8/24/2015 Email re: Millian
Boasting about Connections
to Trump

SC_IDC_0044046 to
SC_IDC_0044047

Dx 475

2/26/2016 Email re: Millian
Boasting about Connections
to Trump

SC_IDC_0044150 to
SC_IDC_0044154

Dx 476

3/3/2016 Email re: Millian
Sending Photo of him and
Trump

SC_IDC_0044165 to
SC_IDC_0044167

Dx 477

3/15/2016 Email re: Millian
Reaches out to Cohen and
Asks to Advise on Russian
Matters

SC_IDC_0044174

Dx 478

3/22/2016 Email re: Millian
Boasting about Relations to
Candidate Trump and his
Team

SC_IDC_0044177

Dx 478T

3/22/2016 Email
Translation

Dx 479

4/7/2016 Email re: Millian
Boasting about Knowledge
and Relations to Trump’s
Business A ffairs

SC_IDC_0044184

Dx 479T

4/7/2016 Millian Email
Translation

Dx 480

7/15/2016 LinkedIn
Message from Millian to
Papadopoulos

SC_IDC_0044240,
SC_IDC_0054500

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Case 1:21-cr-00245-AJT Document 130-3 Filed 10/18/22 Page 9 of 10 PagelD# 1802

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Dx 481

Boasting about Meeting
with Trump

W/ 1 5/201 6 Email re: Millian ,

SC_IDC_0044241

B. Auten to lier

Dx 481T

7/15/2016 Email
Translation

B. Auten, twoltqze

Dx 482

7/15/2016 Email re: Millian
Boasting about Meeting
with Trump

SC_IDC_0044244

B-futen, wlirjer

Dx 482T

7/15/2016 Email
Translation

B- Accten, wlejzz

Dx 483

7/26/2018 Email re: Millian
Boasting about Meeting
with Trump

SC_IDC_0044262

Dx 484

7/28/2016 Email re: Millian
Setting Up Interview to
Talk about Trump and
Affairs in Russia

SC_IDC_0044296

Dx 485

7/31/2016 Email re: Millian
Angry at ABC

SC_IDC_ 0044302

Dx 486

8/5/2016 Email re:
Introduction to
Papadopoulos via Skype

SC_IDC_0044319

*

B. Auten, wo hz]4

Dx 487

8/8/2016 Email re: Millian
and Papadopoulos
Communication

SC_IDC_0044333

Dx 488

8/9/2016 Email re: Millian
Boasting to Trump Advisor
about Connections to Russia

SC_IDC_0044334

Dx 489

8/22/2016 Email re: Millian
Emailing Papadopoulos
about US-Russia Relations

SC_IDC_0044346

Dx 490

8/25/2016 Email re: Millian
Discussing Public Speech
about Russia-US Relations
with Papadopoulos

SC_IDC_0044350 to
SC_IDC_0044351

Dx 491

8/26/2016 Email re: Millian
Makes Donation to
Papadopoulos Hampton
Church

SC_IDC_0044379

Dx 492

8/26/2016 Paypal
Transaction

SC_IDC_0044380

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Exhibit

No Description Bates Number Off'd Adm/’d Notes
9/13/2016 Email re: Millian
Dx 494 Boasting Catches Up to SC_IDC_0044434 to
Him, Looks to Cohen for SC_IDC_0044437
Help
9/16/2016 Email re: Millian
Dx 495 | Boasting about Relations to | SC_IDC_0044505
Trump
Dx 495T 9/ 16/2016 Email
Translation
Dx 496 cists Soe fs ene Access pe IDE LOisA2e 1
SC_IDC_004498
to Records se
2. Auten toliz G
Dx 497 | Auten’s Handwritten Notes ee Oe eee). t0 / We Py.it ONL Ne

SCO_3500_ 067300

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